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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES,

       Plaintiff,

 v.                                                   Case No. 10-20705-D-5

 MAZEN MAZRAANI,

       Defendant.
                                               /

                        ORDER DENYING WITHOUT PREJUDICE
                    APPLICATION TO PROCEED IN FORMA PAUPERIS

       Mazen Mazraani pleaded guilty to using a fire to commit fraud. He received his

 sentence less than four months ago, and his direct appeal, No. 13-1060 (6th Cir.), is

 pending, indeed, has barely begun; yet he submits a form with boxes checked signaling

 his wish to “appeal” in forma pauperis the denial of a non-existent “motion under 28

 U.S.C. § 2255.” Presumably Mazraani’s counsel has used a form unsuited for his

 intended aim. Accordingly,

       IT IS ORDERED that the application to proceed in forma pauperis [Dkt. # 601] is

 DENIED WITHOUT PREJUDICE to the submission of a coherent, properly formatted

 motion or application.



                                           s/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

 Dated: March 18, 2013
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, March 18, 2013, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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